Case 1:01-cv-12257-PBS Document 7430-2 Filed 02/18/11 Page 1 of 1

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

MDL No. 1456
IN RE PHARMACEUTICAL INDUSTRY Master File No. 01-CV-12257-PBS
AVERAGE WHOLESALE PRICE Subcategory No. 07-12141-PBS
LITIGATION Subcategory No. 03-10643-PBS
THIS DOCUMENT RELATES TO: Judge Patti B. Saris
State of lowa v. Abbott Laboratories, et al.
- and -

The City of New York, et al. v. Abbott
Laboratories, fnc., et al.

PRO HAC VICE DECLARATION OF DAVID E. BELL

1, ] am an attorney with the firm of Crowell & Moring LLP, counsel in this matter to
defendant Purepac Pharmaceutical Company. I submit this Declaration in support of my
admission pro hac vice to the bar of this Court, pursuant to paragraph 16 of Case Management
Order No. 1.

2. I am an attorney duly licensed to practice law in Virginia and the District of
Cotumbia. I have also been admitted to practice before the United States Supreme Court, United
States Courts of Appeals for the District of Columbia Circuit and the Second Circuit, as well as
the United States District Courts for the District of Columbia and the Eastern District of Virginia.

3. 1 am a member of the bar in good standing in every jurisdiction where | have been
admitted. There have been and are no disciplinary actions pending against me, and ] am familiar
with the Local Rules of the U.S. District Court for the District of Massachusetts.

I declare under penalty of perjury that the foregoing is true and correct. Executed on

Ode bu

David E. Bell

February 16, 2011.

